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                                              UNITED STATES DISTRICT COURT
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                                           NORTHERN DISTRICT OF CALIFORNIA
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      ELIN SPELLMAN;                                                         CASE NO: C 06-03956 MHP
11
                                                                             NOTICE OF DISMISSAL BY
12                                       Plaintiff,                          PLAINTIFF [FRCP Rule 41(a)]
13    v.
14    HUMBOLDT COUNTY SHERIFF’S
15    DEPUTY ANNE GOLDSMITH;
      HUMBOLDT COUNTY SHERIFF’S
16    DEPARTMENT; COUNTY OF
      HUMBOLDT;
17                                       Defendant.
18
19             The parties to the above-captioned matter, having resolved their differences in a mutually

20   satisfactory manner, and pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff

21   hereby dismisses her action with prejudice in its entirety, each party to bear their own attorney’s

22   fees and costs.

23   DATED: October 16, 2006                           Respectfully submitted,
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                       IT IS S                                       BY:
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27
                                                                                   Attorney for Plaintiffs
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     ELIN SPELLMAN. v. ANNE GOLDSMIETH                                                               USDC, Northern District, Case No. C 06-03956 MHP
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                                                        NOTICE OF DISMISSAL BY PLAINTIFF

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